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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION
____________________________________
                                     )
BITMAIN TECHNOLOGIES GEORGIA )
LIMITED,                             )
                                     )
      Plaintiff,                     )
                                     )
v.                                   ) Case No.: 4:24-cv-00927
                                     )
JWKJ TECHNOLOGIES LLC,               )
                                     )
      Defendant.                     )
____________________________________)

                      MEMORANDUM IN SUPPORT OF
         PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER,
           PRELIMINARY INJUNCTION, AND EXPEDITED DISCOVERY

       Plaintiff Bitmain Technologies Georgia Limited (“Bitmain” or “Plaintiff”) hereby submits

its Memorandum of Law in support of its Motion for Temporary Restraining Order, Preliminary

Injunction, and Expediated Discovery, along with the Declaration of Zheng Shang (the

“Declaration”), and hereby states as follows:

                                       INTRODUCTION

       Bitmain brings this action to protect its property, redress the multiple breaches and theft on

the part of JWKJ, and prevent JWKJ from fraudulently transferring its assets. Bitmain and JWKJ

entered into a contract, the Service Framework Agreement (the “SFA”) on March 1, 2023. Under

the terms of the SFA, JWKJ would provide a facility (the “Data Center Facility”) to house 6,000

of Bitmain’s bitcoin mining servers (the “Hosted Servers”) and would provide electric power and

internet access sufficient to allow Bitmain to use the Hosted Servers to mine bitcoin. Bitmain paid
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JWKJ a hosting fee for these services and expected to receive all mined bitcoin, as provided by

the SFA.

       This did not happen. Instead, from February 2024 to June 2024, JWKJ did not maintain

the electric power and internet access sufficient to allow Bitmain to use the Hosted Servers to mine

bitcoin and locked Bitmain out of the Data Center Facility. This violates Article 6.1 of the SFA,

which requires JWKJ to “provide Bitmain with sufficient . . . power load and facilities . . .

reasonably required for the normal operation of the Hosted Servers;” Article 6.9 of the SFA, which

requires JWKJ to keep the Hosted Servers online for at least 95% of the time every month; and

Article 6.7 of the SFA, which requires JWKJ to “grant Bitmain Personnel access and permit to

enter into the Data Center Facility” at all times. Additionally, on June 16, 2024, JWKJ diverted

the computational power of the Hosted Servers and is using them to mine bitcoin for itself. This

is theft. During this time, JWKJ stole, and continues to steal as of the date of this Motion,

Bitmain’s property, in derogation of JWKJ’s obligations under the SFA and in violation of Missouri

law.

       In response to JWKJ’s flagrant and continued breaches of the SFA, Bitmain gave JWKJ

written notice on June 19, 2024, that Bitmain was exercising its right to immediately terminate the

SFA. Under the plain terms of Article 8.1 of the SFA, the Hosted Servers are Bitmain’s property.

JWKJ does not—and cannot—contest this. Upon termination of the SFA, Bitmain has the right to

enter the Data Center Facility and remove its property, including the Hosted Servers. Bitmain has

demanded that JWKJ allow it entry into the Data Center Facility to remove Bitmain’s property,

but JWKJ has refused. Instead, JWKJ continues to use Bitmain’s Hosted Servers to mine bitcoin

for JWKJ’s benefit. In converting Bitmain’s property to its own use, JWKJ has breached the terms

of the SFA and violated Missouri law.



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         In this Motion, Bitmain seeks to maintain the status quo regarding Bitmain’s right to access

its own property. There can be no dispute: under the SFA, Bitmain is the owner of the Hosted

Servers and has a right to unfettered access to the Data Center Facility to remove its property.

Bitmain simply asks the Court to grant it the right that it should already enjoy under the plain terms

of the agreement to which both parties agreed: possession of its own property. Notably, under

Article 13.1 of the SFA, JWKJ has acknowledged that a breach or threatened breach of the SFA

would “cause serious and irreparable harm to BITMAIN for which monetary damages alone would

not be a sufficient remedy.”1 Moreover, JWKJ agreed that in the event of a breach, Bitmain would

be “entitled to injunctive relief . . . .” Id.

         Accordingly, Bitmain respectfully requests that this Court enter a temporary restraining

order and temporary injunction putting a stop to JWKJ’s unlawful conduct and enjoining JWKJ

from (i) preventing Bitmain from entering the Data Center Facility for the purpose of removing

the Hosted Servers; and (ii) selling or otherwise disposing of the Hosted Servers; (iii) continuing

to use the Hosted Servers to mine bitcoin while the computational power for the Hosted Servers is

directed to a mining pool with rewards for JWKJ or any affiliated entity; and (iv) selling or

otherwise disposing of any bitcoin JWKJ mined while the computational power for the Hosted

Servers was directed to a mining pool with rewards for JWKJ or any affiliated entity. Additionally,

in connection with the temporary restraining order, Bitmain requests the Court to allow expedited

discovery so Bitmain can prepare for any preliminary injunction hearing.




1
 A copy of the SFA is attached as Exhibit A to the Declaration of Zheng Shang, attached hereto
as Exhibit 1.
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                                    FACTUAL BACKGROUND

I.      Bitmain Enters into the Service Framework Agreement with JWKJ.

        On March 1, 2023, Bitmain and JWKJ entered into the Service Framework Agreement

(“SFA”) between them, under which JWKJ agreed to provision the Data Center Facility, a facility

at which to host 6,000 of Bitmain’s bitcoin ASIC mining servers (“Hosted Servers”) miners with

a model number of S19XP. Declaration of Zheng Shang (“Decl.”), attached hereto as Exhibit 1,

¶¶ 8-9; see also SFA, attached as Exhibit A to the Declaration of Zheng Shang. The Hosted

Servers must be connected to electric power and to the internet to operate productively.

Accordingly, Article 6.1 of the SFA requires JWKJ to “provide Bitmain with sufficient . . . power

load and facilities . . . reasonably required for the normal operation of the Hosted Servers.” Decl.,

¶ 8; SFA, Article 6.1, at pp. 15-16.

        Because it was important to Bitmain that the Hosted Servers be productively running as much

as possible, the SFA requires JWKJ to keep the Hosted Servers on-line, connected to monitoring

software and contributing their computational power to a Bitcoin mining pool or pools as designated

by Bitmain, at least 95% of the time, on average. SFA, Article 6.9(a), at pp. 18-19.. If the Online

Status Ratio (i.e., the amount of time the Hosted Servers were online) drops below 95%, JWKJ is

given one month to remedy the situation, after which Bitmain may “terminate this Agreement with

immediate effect without any liability for breach of contract.” Id., Article 6.9(c), at p. 19.

        Under Article 8.1 of the SFA, Bitmain, not JWKJ, owns the Hosted Servers. SFA, Article

8.1, at pp. 20. In May 2024, since JWKJ was unable to provide sufficient power supply, by agreement

between Bitmain and JWKJ, the parties reduced the total hosting quantity to 3,429 Hosted Servers.

Decl., ¶ 10. With 22 Hosted Servers currently at Bitmain’s repair outlets, there are 3,407 Hosted

Servers currently under JWKJ’s control. Id. The 3,407 remaining Hosted Servers have a retail value



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of nearly $15 million and are capable of generating approximately 0.37 bitcoin per day based on

current network difficulty, a current value of approximately $23,000. Id.

        It was important to Bitmain that Bitmain’s personnel have unfettered access to the Data Center

Facility to, among other things, ensure the safety and security of Bitmain’s valuable property. SFA,

Article 6.7, at p. 18. Accordingly, the SFA provides that JWKJ cannot restrict Bitmain’s access to

the Data Center Facility. Id. In exchange for providing a secure facility with constant access to

electric power and the internet in which Bitmain could use its Hosted Servers to mine bitcoin, Bitmain

paid JWKJ a monthly hosting service fee.

II.     JWKJ Breaches the Service Framework Agreement—and Steals Bitmain’s Bitcoin.

        JWKJ has been repeatedly breaching the SFA, which breaches continue to this day. Decl.,

¶¶ 12-17. From February 2024 through June 2024, JWKJ maintained the Online Status Ratio of the

Hosted Servers below 95%. Decl., ¶ 11. By maintaining the Online Status Ratio below 95%, JWKJ

breached Section 6.1 of the SFA, which requires JWKJ to “provide Bitmain with sufficient . . . power

load and facilities . . . reasonably required for the normal operation of the Hosted Servers” and Section

6.9 of the SFA. Id. ¶¶ 8, 11.

        Most nefariously, since June 16, 2024, JWKJ has reconfigured and manipulated the Hosted

Servers without Bitmain’s authorization to divert the computational power of the Hosted Servers

away from the mining pool as configured and designated by Bitmain and into another mining pool

with rewards for JWKJ. Decl., ¶ 12. Instead of generating bitcoin mining rewards for Bitmain, as

provided under the SFA, JWKJ used the Hosted Servers to generate bitcoin mining rewards for JWKJ.

Id. In doing so, as of June 30, 2024, JWKJ stole over 5.59 bitcoin that lawfully belongs to Bitmain,

property worth approximately $356,000 at the time of the theft. JWKJ’s redirection of the Hosted

Servers constitutes a severe and continuous breach of the SFA. Id.



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        Moreover, since June 2024, JWKJ has prevented Bitmain personnel from accessing the Data

Center Facility. Decl., ¶ 17. In doing so, JWKJ breached Article 6.7 of the Agreement, which requires

JWKJ to “provide all necessary support and cooperation for the operation and maintenance of the

Hosted Servers by Bitmain Personnel” and requires JWKJ to “grant Bitmain Personnel access and

permit to enter into the Data Center Facility.” Id. ¶ 16.

III.    Bitmain Terminates the SFA.

        After JWKJ allowed the Online Status Ratio to drop below 95% for two months in a row,

Bitmain proactively engaged in discussions with JWKJ beginning during April 2024 and continuing

through June 2024. Decl., ¶ 13. However, JWKJ has failed to remedy its continuing breaches of the

SFA and has allowed the Online Status Ratio to continue below 95% due to its redirection of the

computational power of the Hosted Servers on June 16, 2024. Id.

        Moreover, as of June 30, 2024, JWKJ has stolen over 5.59 of Bitmain’s bitcoin, worth

approximately $356,000 at the time of the theft, by redirecting the computational power for Bitmain’s

Hosted Servers. Decl., ¶ 12. Due to JWKJ’s continued and unremedied breaches of the Agreement,

on June 13, 2024, Bitmain notified JWKJ in writing that it was exercising its right to terminate the

SFA, under, inter alia, Section 11.2(d) of the SFA. Decl., ¶ 14. Upon termination of the SFA, JWKJ

was required to “provide unfettered access to BITMAIN Personnel to the Data Center Facility and

any assistance required by such BITMAIN Personnel to remove the BITMAIN Property,” which

includes the Hosted Servers. Decl., ¶ 16.

        Notably, under the SFA, JWKJ acknowledged that a breach or threatened breach of the SFA

would “cause serious and irreparable harm to BITMAIN for which monetary damages alone would

not be a sufficient remedy.” SFA, Article 13.1, at p. 25. Moreover, JWKJ agreed that in the event of

a breach, Bitmain would be “entitled to injunctive relief . . . .” Id. Bitmain has demanded that JWKJ



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allow Bitmain access to the Data Center Facility to recover Bitmain’s property, including the Hosted

Servers. Decl., ¶ 17. JWKJ has refused to provide Bitmain such access. Id.

                                ARGUMENT & AUTHORITIES

I.     Temporary Restraining Order and Preliminary Injunction

       This Court should grant Bitmain’s motion for a temporary restraining order and preliminary

injunction. The standard for the issuance of a preliminary injunction and temporary restraining order

is the same. Dataphase Sys., Inc. v. C.L. Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981). To determine

whether to grant such injunctive relief, Missouri courts weigh: (i) the moving party’s likelihood of

success on the merits; (ii) the potential for irreparable harm should it not order an injunction; (iii)

whether the harm the moving party faces outweighs any harm to the enjoined party; and (iv) whether

an injunction would serve the public interest. See, e.g., Home Instead, Inc. v. Florance, 721 F.3d 494,

497 (8th Cir. 2013).

       A.      Likelihood of Success on the Merits.

       Bitmain is likely to succeed on the merits on all of its causes of actions. Bitmain asserts causes

of action against JWKJ for Declaratory Judgment, for breach of contract, for conversion, under the

Missouri Tampering with Computer Data statute, and under the Missouri Uniform Trade Secrets Act.

               i.      Declaratory Judgment

       Consistent with the termination provision of the SFA, Bitmain terminated the SFA due to

JWKJ’s continuing and unremedied breaches thereof. The SFA requires JWKJ to allow Bitmain into

the Data Center Facility to retrieve Bitmain’s Hosted Servers post-termination. Under the plain

language of the SFA, Bitmain is entitled to a declaratory judgment that it has a right to retrieve its

property that JWKJ is currently unlawfully detaining at the Data Center Facility.




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                ii.     Breach of Contract

        The SFA is a valid and enforceable contract between Bitmain and JWKJ. Bitmain has fully

performed its obligations under the SFA, whereas JWKJ has materially breached numerous

provisions of the SFA. First, Article 6.9 of the SFA requires JWKJ to maintain the Online Status

Ratio no less than 95%, yet JWKJ maintained the Online Ratio Status below 95% from February

2024 to June 2024. Additionally, JWKJ reconfigured and manipulated the Hosted Servers without

authorization of Bitmain by diverting the hash of the Hosted Servers away from the mining pool as

configured and designed by Bitmain. Second, Article 6.7 of the SFA requires JWKJ to provide

Bitmain unfettered access to the Data Center Facility, yet JWKJ has refused to provide Bitmain such

access. Third, Article 8.1 of the SFA provides that Bitmain has an ownership interest in the Hosted

Servers, yet JWKJ is failing to honor such ownership interest by preventing Bitmain from removing

the Hosted Servers from the Data Center Facility. As such, Bitmain has shown a likelihood on the

success of the merits for its breach of contract claim.

                iii.    Conversion

        As recognized in the SFA, Bitmain owns the Hosted Servers and has a right to use them to

generate revenue for itself by mining bitcoin. JWKJ is currently interfering with Bitmain’s ability to

use its property by preventing Bitmain from retrieving the Hosted Servers from the Data Center

Facility and by redirecting the computing power of the Hosted Servers to JWKJ’s mining pool so that

JWKJ, rather than Bitmain, gains the benefit of the Hosted Servers. Bitmain therefore has shown a

likelihood of success on the merits of his conversion cause of action.

                iv.     Tampering with Computer Data

        JWKJ’s actions fall squarely within the scope of the Missouri Tampering with Computer Data

statute, MO. REV. STAT. § 569.095. When JWKJ diverted the computational power of the Hosted



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Servers and used them to mine bitcoin for itself, JWKJ violated the Missouri Tampering with

Computer Data statute by knowingly, and without authorization or reasonable grounds to believe it

had authorization, (1) accessing Bitmain’s computers, computer system, and computer network; and

(2) modifying programs residing or existing internal to a computer, computer system, and computer

network. Id. Consequently, Bitmain has shown a likelihood of success on the merits to the relief

sought under the Missouri Tampering with Computer Data statute.

               v.      Missouri Uniform Trade Secrets Act

       JWKJ has misappropriated Bitmain’s trade secrets in violation of the Missouri Uniform Trade

Secrets Act, MO. ANN. STAT. §§ 417.450, et seq. To mine bitcoin, Bitmain uses information,

including programs, devices, methods, techniques, processes, and financial data, that derives

independent economic value from not being generally knowing, and not being readily ascertainable

by proper means by, other person who can obtain economic value from its disclosure or use. See id.

§ 417.453. That information constitutes trade secrets. Id. By diverting computational power of

Bitmain’s Hosted Servers and using them to mine bitcoin for itself, JWKJ misappropriated Bitmain’s

trade secrets. Id. Accordingly, Bitmain has shown a probable right to the relief sought under the

Uniform Trade Secrets Act.

       B.      Imminent Potential for Irreparable Harm

       Bitmain is in severe danger of suffering imminent and irreparable injury if the Court does not

grant its request for a temporary injunction. “To demonstrate irreparable harm, [the movant] must

show harm that is certain and great and of such imminence that there is a clear and present need for

equitable relief.” H&R Block, Inc. v. Block, Inc., 58 F.4th 939, 951 (8th Cir. 2023). Bitmain meets

this standard. JWKJ has locked Bitmain out of the Data Center Facility and is not allowing Bitmain

to retrieve its 3,407 remaining Hosted Servers, which are worth approximately $15 million. The



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Hosted Servers are capable of generating approximately 0.57 bitcoin per day based on the current

network capability. Thus, Bitmain’s business is greatly disrupted. Associated Producers Co. v. City

of Independence, Mo., 648 F. Supp. 1255, 1258 (W.D. Mo. 1986) (“Under some circumstances, loss

of business threatening the very existence of an enterprise constitutes irreparable injury sufficient to

justify the issuance of a preliminary injunction.”). Not only is JWKJ preventing Bitmain from

accessing its property; it is also stealing from Bitmain. There is a clear and present need for injunctive

relief because JWKJ has been diverting, and continues to divert, the computational power of

Bitmain’s Hosted Servers and use them to mine bitcoin for itself, depriving Bitmain of the use of

bitcoin that should rightfully be Bitmain’s.

        Moreover, the SFA supports the remedy Bitmain seeks. Pursuant to Article 13.1 of the SFA,

JKWJ agreed that “a breach or threatened breach of this Agreement shall cause serious irreparable

harm to Bitmain for which monetary damages alone would not be a sufficient remedy” and “waive[d]

any claim or defense that damages may be adequate or ascertainable or otherwise preclude injunctive

relief.” The Court should give effect to the plain terms of the Parties’ agreement and find that the

injury Bitmain has suffered and continues to suffer is irreparable. See Perficient, Inc. v. Munley,

No. 4:19-cv-01565, 2019 WL 4247056, at *10 (E.D. Mo. Sept. 5, 2019) (injunction appropriate

where “agreement states that its breach constitutes irreparable injury and notes the propriety of

securing injunctive relief”).

        Further, the Hosted Servers are sophisticated electronic devices that derive value in part due

to proprietary technology that Bitmain developed and stakes steps to keep confidential. By locking

Bitmain out of the Data Center Facility where the Hosted Servers are located, JWKJ has the

opportunity to steal Bitmain’s proprietary technology. Courts in the Eighth Circuit “have consistently

held that potential misuse of confidential information . . . constitute irreparable harm.” Champion



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Salt, LLC v. Arthofer, No. 4:21-CV-00755-JAR, 2021 WL 4059727, at *12 (E.D. Mo. Sept. 7, 2021);

see also Perficient Inc. v. Gupta, No. 4:21-CV-759 HEA, 2021 WL 2805282, at *3 (E.D. Mo. July 6,

2021) (citation omitted) (“Courts generally hold that the disclosure of confidential information . . .

will result in irreparable harm to the plaintiff.”); Express Scripts, Inc. v. Lavin, No. 17-cv-01423-

HEA, 2017 WL 2903205, at *8 (E.D. Mo. July 7, 2017) (“Irreparable harm is also properly presumed

where . . . confidential, proprietary information is being improperly used.”).

       Moreover, Bitmain is entitled to the relief sought because its potential damages are incapable

of accurate calculation. Management Registry, Inc. v. A.W. Cos., Inc., 920 F.3d 1181, 1183 (8th

Cir. 2019) (“to receive a preliminary injunction, [movant must] establish that it had ‘no adequate

remedy at law’ because ‘its injuries could not be fully compensated through an award of damages.’”);

Gen. Motors Corp, v. Harry Brown’s, LLC, 563 F.3d 312, 319 (8th Cir. 2009) (“Irreparable harm

occurs when a party has no adequate remedy at law, typically because its injuries cannot be fully

compensated through an award of damages.”). Bitmain is not guaranteed to mine a specific amount

of bitcoin using the Hosted Servers. Rather, by directing the computational power of the Hosted

Servers towards Bitmain’s mining pool, Bitmain increases the likelihood that Bitmain will receive

bitcoin rewards during a certain time period. By redirecting the computational power of the Hosted

Servers, JWKJ does not prevent Bitmain from earning a specific, easily ascertainable amount of

bitcoin. Rather, JWKJ denies Bitmain the possibility of reaping rewards, which are, moreover,

denominated in bitcoin, a volatile asset whose value can fluctuate heavily. Accordingly, Bitmain’s

damages are incapable of precise calculation if JWKJ is allowed to continue using Bitmain’s Hosted

Servers to mine bitcoin for its own benefit and if JWKJ is not required to allow Bitmain to retrieve its

Hosted Servers.




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        For all these reasons, there is sufficient likelihood of irreparable harm to justify imposition of

a preliminary injunction.

        C.      Harm to Bitmain Outweighs Any Harm to JWKJ.

        With respect to the third element, any harm to JWKJ is a direct and foreseeable consequence

of its own actions of breaching the SFA and violating the Uniform Trade Secrets Act and Tampering

with Computer Data statute. As set forth in H&R Block Tax Servs. LLC v. Clayton:

        Granting injunctive relief in [Plaintiff’s] favor would operate only to require
        Defendants to adhere to the terms of the contracts to which it already agreed, while
        denying injunctive relief would potentially operate to allow Defendants to act contrary
        to their contractual obligations. In the Court’s view allowing parties to benefit from a
        breach of contract would result in greater harm than binding those parties to terms of
        contracts to which they already agreed. Moreover, whereas the injury threatened to
        [Plaintiff] will be irreparable, any injury to Defendants is entirely self-inflicted, and
        could be remedied by an award of damages.

No. 4:16-CV-00185-SRB, 2016 WL 1247205, at *4 (W.D. Mo. Mar. 24, 2016).

        Here, the requested relief will serve to enforce the SFA and ensure that JWKJ is not rewarded

for violating the law. Therefore, the harm to Bitmain in absence of a temporary restraining order will

outweigh any potential harm to JWKJ.

        D.      An Injunction Would Serve the Public Interest.

        The public interest is well-served by stopping JWKJ’s theft. An injunction here will not only

return Bitmain’s property to it, an injunction will also prevent JWKJ from continuing to profit from

the use of property it has no right to operate. To be sure, the public interest is well-served by enforcing

the valid contract between Bitmain and JWKJ and preventing the potential misappropriation of

Bitmain’s rights under the Uniform Trade Secrets Act and Tampering with Computer Data statute.

However, the public’s interest in upholding the rule of law by preventing thieves from profiting from

their deception is paramount. An injunction is necessary to demonstrate that a thief cannot steal




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property to which it has no right and continue to profit from operation of that property while its case

winds its way through the judicial process.

II.    Expedited Discovery

       To prepare for any preliminary injunction hearing, the parties should be granted the

opportunity to conduct discovery on an expedited basis. Specifically, Bitmain requests that the Parties

be allowed the following discovery: (i) each party may serve fifteen (15) requests for production on

each opposing party, and written responses, accompanied by responsive documents, will be due

within seven (7) days after service of the requests; (ii) each party may serve five (5) interrogatories

on each opposing party, and written responses will be due within seven (7) days after service of the

requests; and (iv) each party may take two (2) depositions of four (4) hours each, and depositions may

be taken on three (3) days’ notice.

       Federal Rule of Civil Procedure 26(d)(1) permits a court to shorten the period to respond to

discovery. Courts use one of two standards to determine whether a party is entitled to conduct

expedited discovery: the “good cause” or “reasonableness” standard. Monsanto Co. v. Woods, 250

F.R.D. 411, 413 (E.D. Mo. 2008). “Under the good cause standard, the party requesting expedited

discovery must show that the need for expedited discovery, in consideration of administration of

justice, outweighs prejudice to responding party.” Id. Under the reasonableness standard, the factors

relevant are “(1) irreparable injury, (2) some probability of success on the merits, (3) some connection

between the expedited discovery and the avoidance of the irreparable injury, and (4) some evidence

that the injury that will result without expedited discovery looms greater than the injury that the

defendant will suffer if the expedited relief is granted.” Id. at 414. “The Court of Appeals for the

Eighth Circuit has not adopted either standard.” Id. at 413.




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       Bitmain is entitled to expedited discovery under both standards. First, Bitmain is entitled

to expedited discovery under the good cause standard because the need for expedited discovery

outweighs any prejudice to JWKJ since, as discussed above, Bitmain’s potential damages are

incapable of accurate calculation.     Bitmain is in severe danger of suffering imminent and

irreparable injury because by diverting the computational power of Bitmain’s Hosted Servers and

using them to mine bitcoin for itself. As time passes, Bitmain’s chances of suffering imminent and

irreparable injury only increases.

       Second, Bitmain is entitled to expedited discovery under the reasonableness standard. As

already discussed above, Bitmain is in severe danger of suffering imminent and irreparable injury,

has a probability of success on the merits, and the injury that will result is greater than the injury

JWKJ will suffer. Additionally, there is a connection between the expedited discovery and the

avoidance of irreparable harm because as time passes, JWKJ is able to steal more bitcoin from

Bitmain.

       Thus, the Court should grant Bitmain’s request to conduct discovery on an expedited basis.

                                          CONCLUSION

       Wherefore, Bitmain prays for a temporary restraining order, a temporary injunction, and

expedited discovery prior to the temporary injunction as follows:

   A. JWKJ is enjoined and prohibited from preventing Bitmain from entering the Data Center

       Facility for the purpose of removing its property, including the Hosted Servers;

   B. JWKJ is enjoined and prohibited from continuing to use the Hosted Servers to mine bitcoin

       while the computational power for the Hosted Servers is directed to a mining pool

       controlled by JWKJ or any affiliated entity;

   C. JWKJ is enjoined and prohibited from selling or otherwise disposing of the Hosted Servers;



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  D. JWJK is enjoined and prohibited from selling or otherwise disposing of any bitcoin JWKJ

     mined while the computational power for the Hosted Servers was directed to a mining pool

     with rewards for JWKJ or any affiliated entity.

  E. The temporary restraining order and temporary injunction are binding on the parties to the

     action, their officers, agents, servers, employees, and attorneys, and upon those persons in

     active concert or participation with them who receive actual notice of the order by personal

     service or otherwise;

  F. The parties may conduct discovery on an expedited basis prior to any preliminary

     injunction hearing;

  G. Until a preliminary injunction hearing is held, each party may serve fifteen (15) requests

     for production on each opposing party, and written responses, accompanied by responsive

     documents, are due within seven (7) days after service of the requests for production;

  H. Until a preliminary injunction hearing is held, each party may serve five (5) interrogatories

     on each opposing party, and written responses are due within seven (7) days after service

     of the interrogatories;

  I. Until a preliminary injunction hearing is held, each party may serve twenty-give (25)

     requests for admission on each opposing party, and written responses are due within seven

     (7) days after service of the requests for admission;

  J. Until a preliminary injunction hearing is held, each party may take two (2) depositions of

     four (4) hours each, and depositions may be taken on three (3) days’ notice; and

  K. Such other and further relief, in law or equity, as this Court may deem appropriate.




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DATED: July 8, 2024
                                     Respectfully submitted,

                                     SHANK & HEINEMANN, LLC

                                     By: /s/ Christopher S. Shank
                                     Christopher S. Shank, MO Bar # 28760
                                     1968 Shawnee Mission Parkway, Suite 100
                                     Mission Woods, KS 66205
                                     Telephone: 816-471-0909
                                     Fax: 816-471-3888
                                     chris@shanklawfirm.com

                                     and

                                     NELSON MULLINS RILEY & SCARBOROUGH LLP

                                     Matthew G. Lindenbaum (Pro Hac Vice motion
                                     forthcoming)
                                     One Financial Center, Suite 3500
                                     Boston, MA 02111
                                     Telephone: 617.217.4700
                                     Facsimile: 617.217.4710
                                     Matthew.Lindenbaum@nelsonmullins.com

                                     Attorneys for Plaintiff
                                     Bitmain Technologies Georgia Limited

                                     Certificate of Service

       I hereby certify that a true copy of the foregoing Memorandum in Support of Plaintiff’s
Motion for Temporary Restraining Order, Preliminary Injunction, and Expedited Discovery is
being served by electronic mail on July 8, 2024 on the following counsel for Defendant JWKJ
Technologies LLC:

       Rachel M. Milazzo
       Dentons US LLP
       One Metropolitan Square
       211 N. Broadway, Suite 3000
       St. Louis, MO 63102
       rachel.milazzo@dentons.com

                                            /s/ Christopher S. Shank           ___________
                                            Attorney for Plaintiff

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                                             Exhibit 1
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                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION
        ____________________________________
                                                      )
        BITMAIN TECHNOLOGIES GEORGIA                              )
        LIMITED,                                              )
                                                      )
               Plaintiff,                                 )
                                                      )
        v.                                                )           Case No.:
                                                      )
        JWKJ TECHNOLOGIES LLC                             )
                                                      )
              Defendant.                                      )
        ____________________________________)

                                  DECLARATION OF ZHENG SHANG
               I, Zheng Shang, declare under penalty of perjury the following:
               1. I am an authorized signatory for Plaintiff Bitmain Technologies Georgia Limited.
               2. I am over the age of 18, of sound mind, and able to make this Declaration.
               3. I have never been convicted of a felony or a crime of moral turpitude.
               4. I am fully competent to make this Declaration.
               5. The statements contained in this Declaration are true and correct.
               6. The statements contained in this Declaration are based on my personal knowledge.
               7. I submit this Declaration in support of Plaintiff’s Motion for a Temporary Restraining
        Order, Preliminary Injunction and Expedited Discovery.
               8. On March 1, 2023, Bitmain and JWKJ entered into the Service Framework
        Agreement (“SFA”), under which JWKJ agreed to provision the Data Center Facility, a facility at
        which to host 6,000 of Bitmain’s bitcoin ASIC mining servers (“Hosted Servers”) miners with a
        model number of S19XP. The SFA requires JWJK to, among other things, “provide Bitmain
        with sufficient . . . power load and facilities . . . reasonably required for the normal operation of
        the Hosted Servers.” SFA, Article 6.1.
               9. A true and accurate copy of the SFA is attached hereto as Exhibit A.
               10. In May 2024, since JWKJ was unable to provide sufficient power supply, by
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          agreement between Bitmain and JWKJ, the parties reduced the total hosting quantity to 3,429
                                                   156 at Bitmain’s repair outlets, there are 3,407
          Hosted Servers. With 22 Hosted Servers currently
            Hosted Servers currently under JWKJ’s control. The 3,407 remaining Hosted Servers have a
            retail value of approximately $15 million and are capable of generating approximately 0.37
            bitcoin per day based on current network capability, a current value of approximately $23,000.
                    11. From June 2023 through October 2023 and from February 2024 through June 2024,
            JWKJ maintained the Online Status Ratio of the Hosted Servers below 95%, breaching its
            obligations under the SFA.
                   12. Since June 16, 2024, JWKJ has reconfigured and manipulated the Hosted Servers
            without Bitmain’s authorization to divert the computational power of the Hosted Servers away
            from the mining pool as configured and designated by Bitmain and into another mining pool
            with rewards for JWKJ. Instead of generating bitcoin mining rewards for Bitmain, as provided
            under the SFA, JWKJ used the Hosted Servers to generate bitcoin mining rewards for JWKJ. In
            doing so, as of June 30, 2024, JWKJ took possession of over 5.59 bitcoin that lawfully should
            belong to Bitmain, property worth approximately $356,000 at the time of the theft.
                    13. After JWKJ allowed the Online Status Ratio to drop below 95% for multiple
            months in a row, Bitmain proactively engaged in discussions with JWKJ beginning during April
            2024 and continuing through June 2024. However, JWKJ has failed to remedy its continuing
            breaches of the SFA and has allowed the Online Status Ratio to continue below 95% due to its
            redirection of the computational power of the Hosted Servers on June 16, 2024.
                    14. Due to JWKJ’s continued and unremedied breaches of the Agreement, on June 13,
            2024, Bitmain notified JWKJ in writing that it was exercising its right to terminate the SFA,
            under, among others, Article 11.2(d) of the SFA.
                   15. A true and correct copy of the written notification terminating the Agreement is
            attached hereto as Exhibit B.
                    16. Upon termination of the SFA, JWKJ was required to “provide unfettered access to
            BITMAIN Personnel to the Data Center Facility and any assistance required by such BITMAIN
            Personnel to remove the BITMAIN Property,” which includes the Hosted Servers. SFA, Article
            11.3(a)(iv).
                   17. Bitmain has demanded that JWKJ allow Bitmain access to the Data Center Facility
            to recover Bitmain’s property, including the Hosted Servers. See Ex. B. JWKJ has refused to
            provide Bitmain such access.
                    18. Bitmain will suffer immediate and irreparable injury and loss unless this Court
            enters a temporary restraining order enjoining JWKJ from (i) preventing Bitmain from entering
            the Data Center Facility for the purpose of removing the Hosted Servers; (ii) continuing to use
            the Hosted Servers to mine bitcoin while the computational power for the Hosted Servers is
            directed to a mining pool controlled by JWKJ or any affiliated entity; (iii) selling or otherwise
            disposing of the Hosted Servers; and (iv) selling or otherwise disposing of any bitcoin JWKJ
            mined while the computational power for the Hosted Servers was directed to a mining pool with
            rewards for JWKJ or any affiliated entity.
                    19. Unless and until this Court enjoins JWKJ from prohibiting Bitmain from entering
            the Data Center Facility, it will continue to use Bitmain’s Hosted Servers to mine bitcoin and
            direct and profit from its unlawful actions.
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        I declare under penalty of perjury under the laws of the United States of America that the
        foregoing is true and correct.

                                               Mutson County,New
                                                              ______ on July srt
                                   Executed in ____________
                                                                         Jersey
                                                                             ___, 2024.

                                              e
                                   Signature: ________________________________________
                                   Printed Name: Zheng Shang
                                   Title: Authorized Signatory for Plaintiff Bitmain Technologies
                                   Georgia Limited

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                               Exhibit A
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                                                                                                                        NELSON MULLINS RILEY & SCARBOROUGH LLP
                                                                                                                        ATTORNEYS AND COUNSELORS AT LAW


 Matthew G. Lindenbaum
 Admitted in DC, MA, MD & VT
 T: 617.217.4632
                                                                                                                        One Financial Center, Suite 3500
 matthew.lindenbaum@nelsonmullins.com
                                                                                                                        Boston, MA 02111
                                                                                                                        T: 617.217.4700 F: 617.217.4710
                                                                                                                        nelsonmullins.com




                                                                                   June 19, 2024

Via Electronic Mail
JWKJ Technologies LLC
Attn : Jiawei Zhang
5060 Colonial Drive, #113
Orlando, FL 32808

           RE:            Notice of Termination of the Service Framework Agreement Dated March 1,
                          2023, Between Bitmain Technologies Georgia Limited and JWKJ
                          Technologies LLC
Dear Jiawei:

       Due to JWKJ’s inability to fulfill its obligations under the Service Framework Agreement
(“SFA”) dated March 1, 2023, between Bitmain Technologies Georgia Limited’s (“Bitmain”) and
JWKJ Technologies LLC (“JWKJ”) and JWKJ’s material breaches thereof, Bitmain hereby
terminates the SFA, effective immediately. Capitalized terms not defined herein have the same
meaning as given in the SFA. If JWKJ fails to comply with its post-termination obligations,
including allowing Bitmain unfettered access to the Data Center Facility to remove all Bitmain
Property, including the Hosted Servers, Bitmain is prepared to take immediate legal action.

       JWKJ has demonstrated that it is not prepared to perform the Services in accordance with
the terms of the Agreements. JWKJ’s actions constitute serious breaches of the Agreements,
including but not limited to the following:

           1. JWKJ failed to maintain a sufficient Online Status Ratio as required by Article 6.9 of
              the SFA;

           2. JWKJ failed to provide Bitmain unfettered access to the Data Center Facility as
              required by Article 6.7 of the SFA;

           3. By preventing Bitmain from removing the Hosted Servers from the Data Center
              Facility, JWKJ has failed to honor Bitmain’s ownership interest in the Hosted Servers
              pursuant to Article 8.1 of the SFA; and

   C A L I F O R N I A | C O L O R A D O | D I S T R I C T O F C O L U M B I A | F L O R I D A | G E O R G I A | I L L I N O I S | M A R Y L A N D | M A S S A C H U S E T T S | M I N N E S O TA
     N E W Y O R K | N O R T H C A R O L I N A | O H I O | P E N N S Y LVA N I A | S O U T H C A R O L I N A | T E N N E S S E E | T E X A S | V I R G I N I A | W E S T V I R G I N I A


                                                                                    Exhibit B
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Jiawei Zhang
June 19, 2024
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       4. JWKJ reconfigured and manipulated the Hosted Servers without authorization of
          Bitmain by diverting the hash of the Hosted Servers away from the mining pool as
          configured and designated by Bitmain. Such action constitutes severe breach of the
          SFA, as well as tortious conversion, trespass to chattels, and potential criminal larceny
          offenses.

        Despite Bitmain’s repeated attempts to proactively engage in discussions with JWKJ since
the above-mentioned breaches, JWKJ has since become unresponsive, and thus, the Parties have
failed to reach a mutually acceptable resolution. As such, Bitmain is exercising its right to
terminate the Agreements with immediate effect pursuant to, inter alia, Articles 6.9(c) and 11.2(d)
of the SFA.

       Bitmain hereby demands that JWKJ comply with its obligations upon termination, which
include but are not limited to the following:

       1. Immediately provide Bitmain unfettered access to the Data Center Facility and any
          assistance required by Bitmain’s Personnel to remove all Bitmain Property, including
          the Hosted Servers;

       2. Immediately provide Bitmain with an observation link to the mining pool where the
          hash power of the Hosted Servers are currently being directed;

       3. Return Bitmain’s $1,135,296 Deposit pursuant to Article 11.3(a)(i) of the SFA, less
          any amounts Bitmain may owe JWKJ under the Agreements;

       4. Pay the Monthly Theoretical Hosting Fee of $1,135,26, as required by Articles 11.2(d)
          and 11.3(a)(ii) of the SFA due to JWKJ’s breach of Article 6.9(c) of the SFA;

       5. Return all bitcoin that JWKJ impermissibly obtained when it diverted the hash of the
          Hosted Servers away from the Bitmain mining pool; and

       6. Return all Confidential Information of Bitmain to Bitmain and delete all electronic
          copies thereof from JWKJ’s systems.

        JWKJ’s liability for breach of the SFA is incontrovertible. Moreover, JWKJ is unlawfully
preventing Bitmain from taking possession of Bitmain’s property, including the Hosted Servers,
and by doing so is exposing the Hosted Servers to potential damage or loss. Bitmain reserves the
right to take legal action against JWKJ should JWKJ continue to unlawfully detain the Hosted
Servers. For your reference, I have attached a recent order imposing significant sanctions on
another service provider after Bitmain was forced to seek court intervention for the unlawful
detention of Bitmain’s property.

         Bitmain reserves the right to pursue damages and theories of liability not discussed in this
letter if forced to litigate its claims against JWKJ.
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June 19, 2024
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       I am available to discuss Bitmain’s demands.

                                           Sincerely,

                                           Matthew G. Lindenbaum

                                           Matthew G. Lindenbaum

Enclosure.
